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      5
          Attorney for Defendant
      6

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      9                          IN THE UNITED STATED DISTRICT COURT

     10                       FOR THE EASTERN DISTRICT OF CALIFORNIA

     11

     12   UNITED STATES OF AMERICA,                       ) Case No.: 1:09-cr-00272 AWI
                                                          )
     13                  Plaintiff,                       ) STIPULATION TO CONTINUE
                                                          ) SENTENCING HEARING
     14          vs.                                      )
                                                          )
     15   RENE GALVEZ,                                    )
                                                          )
     16                  Defendant.                       )
     17          It is hereby stipulated by and between the parties hereto, through their respective
     18   attorneys of record, as follows:
     19          The sentencing hearing in this matter is currently set for May 7, 2012 at 10:00 am. It is
     20   stipulated that this hearing be continued until May 14, 2012 at 10:00 am. The reason for the
     21   continuance is that the defendant is housed in Kern County and logistical issues have prevented
     22   counsel from meeting him prior to sentencing.
     23   Dated: May 2, 2012
     24                                                        /s/ Carl M. Faller_____
                                                               CARL M. FALLER
     25
                                                               Attorney for Defendant
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               Case 1:09-cr-00272-DAD-BAM Document 273 Filed 05/03/12 Page 2 of 2


                                                              BENJAMINB. WAGNER
      1
                                                              United States Attorney
      2

      3                                                 By    /s/ Kathleen A. Servatius_____
                                                              KATHLEEN A. SERVATIUS
      4                                                       Assistant U.S. Attorney
                                                              Attorney for the United States
      5

      6

      7          ORDER:

      8          Based upon the stipulation of the parties and good cause appearing, it is hereby
      9
          ORDERED that the sentencing hearing currently set for May 7, 2012 at 10:00 am, is continued
     10
          until May 14, 2012 at 10:00 am.
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